        Case 1:15-cv-03229-TCB Document 19 Filed 01/11/16 Page 1 of 3



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JONATHAN LALIBERTY,                )
                                   )                Civil Action No.
   Plaintiff,                      )                1:15-cv-03229-TCB
v.                                 )
                                   )                JURY TRIAL DEMANDED
ATLANTAHOBBY.COM, INC.             )
                                   )
   Defendant.                      )
                                   )
__________________________________ )


        JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties have reached a

mutually agreeable resolution of this matter and hereby stipulate to the dismissal of

this case with prejudice. The parties further stipulate that neither party will be

deemed a prevailing party and each party will bear his/its own attorneys’ fees,

expenses, and costs.

      Respectfully submitted this 11 th day of January, 2016.


                       [Signatures contained on next page]
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SUBMITTED BY:                           CONSENTED TO BY:

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        Case 1:15-cv-03229-TCB Document 19 Filed 01/11/16 Page 3 of 3



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                FOR THE NORTHERN DISTRICT OF GEORGIA
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JONATHAN LALIBERTY,                )
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   Plaintiff,                      )                  1:15-cv-03229-TCB
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ATLANTAHOBBY.COM, INC.             )
                                   )
   Defendant.                      )
                                   )
__________________________________ )

                           CERTIFICATE OF SERVICE

      I hereby certify that on this day I filed the foregoing Joint Stipulation of

Dismissal with Prejudice with the Clerk using the Court’s CM/ECF system, which

will send electronic notification immediately to all attorneys on record.

      Respectfully submitted this 11th day of January, 2016

                                        s/V. Severin Roberts
                                        V. Severin Roberts
                                        Georgia Bar No. 940504
